                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TENNESSEE
                                         KNOXVILLE DIVISION

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                                                                    :
  LEWIS COSBY, KENNETH R. MARTIN, as beneficiary :
  of the Kenneth Ray Martin Roth IRA, and MARTIN                    :
  WEAKLEY on behalf of themselves and all others                    :
  similarly situated,                                               :
                                                                    :
                                         Plaintiffs,                :
                                                                    :   No. 3:16-cv-00121-TAV-DCP
  v.                                                                :
                                                                    :
  KPMG, LLP,                                                        :
                                                                    :
                                         Defendant.                 :
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                                      MODIFIED SCHEDULING ORDER

          On February 12, 2018, the Court stayed this action pursuant to the statutory requirements
   of the Private Securities Litigation Reform Act (“PSLRA”) pending the Court’s ruling on
   defendant’s motion to dismiss [Doc. 75]. The Court granted in part and denied in part
   defendant’s motion to dismiss [Doc. 76]. The parties then filed their Civil Case Management
   Plan [Doc. 77] with certain proposed deadlines, some of which the Court may have changed.
   The designation of the parties in either the plural or singular shall be applied to mean either
   number, and where appropriate in the context hereof, shall mean any one or more of said parties.
   Any inquiries concerning the trial date should be directed to the Court’s chambers, by contacting
   the Court’s judicial assistant, Ms. Lori Gibson at (865) 545-4762 or at
   varlan_chambers@tned.uscourts.gov, within seven (7) days of receipt of this order; otherwise,
   a motion for continuance must be filed. The schedule will not change except for good cause.

          Accordingly, the Court hereby ENTERS the following Amended Scheduling Order,
   which shall supersede all previous orders.

             1.       Electronic Filing:

                      a)        The Court has implemented Electronic Case Filing, which allows counsel
                                to file and docket pleadings directly from their office via the internet and
                                to be served with filings from other parties and the Court via email.
                                Information on the ECF system is available on the Court’s website:
                                www.tned.uscourts.gov. Counsel who are not already registered users
                                are directed to register as soon as possible or be prepared to explain their
                                failure to do so. See E.D. Tenn. L.R. 5.2(b).



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              b)    Unless the Court instructs otherwise, courtesy hard copies shall not be
                    mailed or hand-delivered to chambers. To the extent the Court requests
                    a courtesy hard copy, such copy should be printed out after being
                    electronically filed so that the copy contains the “ECF Header/Footer”
                    reflecting the filing information, i.e. case number, document number,
                    filed date, and Page ID number.

              c)    Parties filing pleadings either electronically or manually on the day of a
                    hearing or trial should notify chambers and/or the courtroom deputy
                    either by e-mail or phone of the late filing.

         2.   Disclosure and Discovery:

              a)    Fed. R. Civ. P. 26(f) Meeting: The parties have held their discovery
                    planning meeting as required by Fed. R. Civ. P. Rule 26(f).

              b)    Discovery Plan: The parties have filed their Civil Case Management
                    Plan [Doc. 77] .

                    i)     Fact Discovery
                           (1)    All fact discovery shall be completed no later than June
                                  28, 2019.

                           (2)     Document production shall be on a rolling basis, with
                                   responsive documents from the production previously
                                   made to the SEC by February 8, 2019, and with the
                                   remainder of responsive documents no later than April 5,
                                   2019.

              c)    Initial Disclosures: The parties have already made all disclosures
                    required by Rule 26(a)(1).

              d)    E-Discovery: The parties will confer in good faith prior to
                    commencement of their document productions regarding appropriate
                    technical specifications for their respective productions, including but
                    not limited to the format or formats in which ESI will be Produced and
                    the extent to which appropriate fields of metadata and/or native files will
                    be produced. The parties anticipate that most ESI will be produced in the
                    form of TIFF images with an accompanying database load file containing
                    appropriate categories of metadata and extracted text, where available,
                    associated with each document.

              e)    Class Certification:

                    i)     The parties will confer in good faith to schedule depositions of


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                            the plaintiffs by April 17, 2019.

                    ii)     Plaintiffs’ motion for class certification shall be filed by March
                            15, 2019.

                    iii)    Defendant’s opposition to plaintiffs’ motion for class certification
                            shall be filed by April 30, 2019.

                    iv)     Plaintiffs’ reply in support of class certification shall be filed no
                            later than May 20, 2019.

                    v)      Plaintiffs will serve the report of any expert offered in support of
                            their motion for class certification concurrently with the filing of
                            their motion for class certification. Defendant may depose and/or
                            seek discovery from any expert offered in support of plaintiffs’
                            motion for class certification at any time prior to the deadline for
                            defendant to file its opposition to plaintiffs’ motion for class
                            certification.

                    vi)     Plaintiffs will ensure that any expert who submits a report in
                            support of plaintiffs’ motion for class certification will be
                            available for deposition at a mutually agreeable date at least
                            14 days prior to the deadline for defendant to oppose plaintiffs’
                            motion for class certification.

                    vii)    Defendant will serve the report of any expert offered in opposition
                            to plaintiffs’ motion for class certification concurrently with the
                            filing of its opposition to plaintiffs’ motion for class certification.
                            Plaintiffs may depose and/or seek discovery from any expert
                            offered in opposition to plaintiffs’ motion for class certification
                            at any time prior to the deadline for plaintiffs to file their reply.

                    viii)   Defendant will ensure that any expert who submits a report in
                            opposition to plaintiffs’ motion for class certification will be
                            available for a deposition at a mutually agreeable date at least 14
                            days prior to the deadline for plaintiffs to file their reply in further
                            support of class certification.

              f)    Expert Testimony:

                    i)      Plaintiffs must identify any expert who may testify and the subject
                            matters upon which the expert is expected to testify 30 days
                            before submitting expert reports. Plaintiffs’ expert reports
                            pursuant to Fed. R. Civ. P. 26(a)(2) shall be submitted on July 1,
                            2019. Defendant may depose and/or seek discovery from any
                            expert offered by the plaintiffs at any time prior to the deadline

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                            for defendant to submit rebuttal expert reports. Plaintiffs will
                            ensure that any expert who submits a report will be available for
                            deposition at a mutually agreeable date at least 14 days prior to
                            the deadline for defendant to submit a rebuttal expert report.


                    ii)     Defendant’s rebuttal expert reports shall be submitted on August
                            2, 2019.

                    iii)    Plaintiffs’ reply expert reports shall be submitted on August 22,
                            2019. Plaintiffs may depose and/or seek discovery from any
                            expert offered by the defendant at any time prior to the deadline
                            for plaintiffs to submit reply reports. Defendant will ensure that
                            any expert who submits a report will be available for deposition
                            at a mutually agreeable date at least 10 days prior to the deadline
                            for plaintiff to submit a reply report.

                    iv)     All expert discovery, including expert depositions, shall be
                            completed by September 9, 2019.

                    v)      In the event that either party wishes to challenge the relevance or
                            the reliability of expert testimony, a motion for a Daubert hearing
                            must be filed on or before October 9, 2019, or they will be deemed
                            waived.

              g)    Summary Judgment and/or Other Dispositive Motions. Summary
                    judgment and/or other dispositive motions shall be filed on or before
                    September 16, 2019.

              h)    Evidence-Presentation Equipment: If one or more of the parties desire
                    to use the Court’s Digital Evidence Presentation System (DEPS) at trial
                    or for any pretrial hearing, or if any party intends to use any other
                    electronic, mechanical, or other equipment to display evidence at trial,
                    notice must be given to the Court’s courtroom deputy clerk, Ms. Julie
                    Norwood        (865)      545-4234,            Ext.      2285,      or at
                    julie_norwood@tned.uscourts.gov at least five (5) working days before
                    the pretrial conference (for trial) or before any pretrial hearing.

              i)    Pretrial Disclosures: On or before December 13, 2019 (thirty (30) days
                    before trial), the parties shall make all pretrial disclosures specified in
                    Fed. R. Civ. P. 26(a)(3), except as to witnesses (see 6(f) below).

              j)    All Discovery: All discovery, including the taking of depositions “for
                    evidence,” shall be completed by October 15, 2019 (ninety (90) days
                    before trial). Motions to compel must be filed by September 13, 2019.


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             k)     Depositions: Depositions shall be conducted in accordance with the
                    following guidelines and other orders entered by the Court:

                    a.     Counsel shall not direct or request that a witness not answer a
                           question, unless that counsel has objected to the question on the
                           ground that the answer is protected by a privilege or a limitation
                           on evidence directed by the Court.

                    b.     Counsel shall not make objections or statements that might
                           suggest an answer to a witness. Counsels’ statements when
                           making objections should be succinct, stating the basis of the
                           objection and nothing more.

                    c.     Counsel and their witness-clients shall not engage in private, off-
                           the-record conferences while the deposition is proceeding in
                           session, except for the purpose of deciding whether to assert a
                           privilege. Counsel may confer with their clients during
                           midmorning, lunch, mid-afternoon, or overnight breaks in the
                           deposition. However, counsel for a deponent may not request
                           such a break while a question is pending or while there continues
                           a line of questioning that may be completed within a reasonable
                           time preceding such scheduled breaks.

                    d.     Deposing counsel shall provide to the witness’s counsel a copy of
                           all documents shown to the witness during the deposition. The
                           copies shall be provided either before the deposition begins or
                           contemporaneously with the showing of each document to the
                           witness. The witness and the witness’s counsel do not have the
                           right to discuss documents privately before the witness answers
                           questions about them.

             l)    Discovery Disputes: Discovery disputes shall be resolved in the following
                   manner:

                           a.      Parties shall first meet and/or confer in an attempt to
                                   resolve disputes between themselves, without judicial
                                   intervention;

                           b.      If the parties are unable to resolve such disputes
                                   informally, they shall attempt to resolve their
                                   disagreement by conference with the Magistrate Judge
                                   assigned to this case, which conference shall be by
                                   telephone or in court, at the discretion of the Magistrate
                                   Judge, who also shall have the discretion to make findings
                                   and enter an order on the dispute; and


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                              c.      If, and only if, the parties’ dispute is unresolved following
                                      the conference with the Magistrate Judge, the parties may
                                      file appropriate written motions with the Court, which
                                      may be referred to the Magistrate Judge. Any written
                                      motions regarding discovery shall include a certification
                                      of compliance with steps one (1) and two (2) above as well
                                      as the written certification required by Rule 37(a)(1), if
                                      applicable.

         3.    Status Report: The parties shall jointly file on the day of the discovery deadline
               a status report covering the following matters:

               a)     Whether discovery has been completed;

               b)     If any dispositive motions are pending, whether oral argument would be
                      beneficial to the Court and/or the parties, and, if so, explain the benefit;

               c)     Whether any party intends to file any further pretrial motions, including
                      any motions in limine, and if so, the anticipated subject matter of such
                      motions;

               d)     Whether the case is to be tried jury or non-jury and the anticipated length
                      of trial;

               e)     The prospects for settlement of this matter, and whether the case has been
                      or will be submitted for mediation pursuant to Local Rule 16.4; and

               f)     Any other matter which you believe should be brought to the Court’s
                      attention.

        4.     Pretrial Order: Unless counsel are otherwise directed by the Court, the
               following shall govern with regard to the pretrial order in this particular case.

              On December 13, 2019 (thirty (30) days before trial), an agreed pretrial order shall
              be filed. The order shall contain the following recitals:

               a)     Jurisdiction.

               b)     That the pleadings are amended to conform to the pretrial order.

               c)     Short summary of plaintiffs’ theory.

               d)     Short summary of defendant’s theory.

               e)     The issues to be submitted to the trial judge or jury.

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                  f)      Stipulations of fact.

                  g)      Novel or unusual questions of law or evidence.

                  h)      Estimated length of trial (in working days).

                  i)      Possibility of settlement.

                  j)      Miscellaneous matters that may contribute to the just, speedy, and
                          inexpensive determination of the case.

           On or before November 29, 2019, (Forty-five (45) days before trial) plaintiffs’ counsel
   shall serve opposing counsel by email with a proposed pretrial order containing the above items
   except for the theory of defendant. Within five (5) working days after receipt thereof, opposing
   counsel shall furnish plaintiffs’ counsel with defendant’s theory and advise of any disagreement
   as to the issues or other matters in the proposed pretrial order. The parties shall make diligent,
   good faith efforts to reconcile any differences promptly and without the necessity of the Court’s
   intercession. If the parties cannot agree on a pretrial order, plaintiffs’ counsel shall notify the
   undersigned’s office by at least December 12, 2019 (thirty-one (31) days before trial) that the
   parties have, in a face-to-face conference, been unsuccessful, after a good faith effort, to agree
   upon a pretrial order. Thereafter, the undersigned may enter a pretrial order prior to or after the
   pretrial conference. Proposed amendments to a pretrial order entered ex parte by a judge or
   magistrate judge may be sought by motion filed five
   (5) days following entry of the order.

           The Clerk may provide counsel with a jury list containing names and personal
   information concerning prospective petit jurors (hereafter “the jury list”). Counsel and any other
   person provided with the jury list may not share the jury list or information therein except as
   necessary for purposes of jury selection. Following jury selection, counsel and any other person
   provided the jury list must return to the clerk the jury list and any copies made from the jury list
   or destroy them.

          Failure to file an agreed pretrial order or to notify the undersigned’s office that one
   cannot be agreed upon as required herein may be deemed a failure to prosecute the action. See
   Rule 41(b), Fed. R. Civ. P.

          5.      Other Scheduling Matters:

                  a)      Amendment of Pleadings/Joinder of Parties: By at least August 16,
                          2019, all motions for leave to amend the pleadings and add parties must
                          be filed.

                  b)      Mediation in Employment Discrimination Cases: In every case
                          involving employment discrimination, the parties shall jointly file a
                          report indicating their respective positions regarding whether the dispute

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                    is a matter suitable for mediation, as defined by Local Rule 16.4, one
                    hundred fifty (150) days before trial.

              c)    Motions in Limine: All motions in limine must be filed no later than
                    December 13, 2019 (thirty (30) days before trial). Such motions in limine
                    will be addressed by the Court at the final pretrial conference (see No. 7
                    below), unless the parties are notified otherwise by the Court.

              d)    Special Requests to Instruct for Jury Trial: Pursuant to Local Rule
                    51.1, special requests for jury instructions shall be submitted to the Court
                    no later than December 13, 2019 (thirty (30) days before trial) and shall
                    be supported by citations of authority pursuant to Local Rule 7.4. There
                    is reserved to counsel for the respective parties the right to submit
                    supplemental requests for instructions during the course of the trial or at
                    the conclusion of trial upon matters that cannot be reasonably anticipated.

              e)    Exhibits: All anticipated exhibits will be labeled and numbered prior to
                    trial. At the inception of trial, counsel will furnish the Court with the
                    original and one (1) copy of their exhibits. The parties are directed to
                    confer prior to the final pretrial conference as to the authenticity and
                    admissibility of exhibits and be prepared to discuss any objections at the
                    pretrial conference.

              f)    Witness Lists: By November 29, 2019, (forty-five (45) days before trial),
                    the parties shall file a final witness list covering the information specified
                    in Rule 26(a)(3). Within five (5) days after service of a final witness list,
                    such list may be supplemented.

              g)    Trial Briefs: By December 27, 2019 (fifteen (15) days before trial), the
                    parties must file trial briefs concerning any novel or unusual questions of
                    law that have been highlighted in the pretrial order.

              h)    Use of Depositions at Trial: In the event that a party files an objection
                    within the time specified by Rule 26(a) to the use under Rule 32(a) of a
                    deposition designated by another party under subparagraph (B) of Rule
                    26(a)(3), or any objection, together with the grounds therefor, that may
                    be made to the admissibility of materials identified under subparagraph
                    (C) of Rule 26(a)(3), and desires the Court to consider such objection or
                    objections to be in the nature of a motion in limine, such objections shall
                    be accompanied by a brief in support of such objection/motion in limine.
                    Should a hearing be directed by the Court regarding such motions in
                    limine, the parties shall be notified of the date and time thereof. Counsel
                    are reminded that objections not so disclosed, other than objections
                    under Rules 402 and 403, Federal Rules of Evidence, shall be deemed
                    waived unless excused by the Court for good cause shown.



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          6.      Final Pretrial Conference: A final pretrial conference will be held in Knoxville
                  on January 6, 2020, at 3:30 p.m., before Chief District Judge Varlan.

          7.      Trial: The trial of this case will be held in Knoxville before Chief District Judge
                  Varlan with a jury beginning on January 13, 2020.

          If there are any preliminary matters, counsel shall be present at 8:30 a.m. to take up any
   such matters which may require the Court’s attention. The parties shall be prepared to
   commence trial at 9:00 a.m. on the date which has been assigned. If this case is not heard
   immediately, it will be held in line until the following day or anytime during the week of the
   scheduled trial date.

          8.      Consent to Magistrate Judge: You are reminded that United States magistrate
                  judges in this District have authority to try civil cases, both jury and nonjury,
                  upon consent of the parties pursuant to 28 U.S.C. § 636(c). If you desire to have
                  your case tried by consent by a magistrate judge, notify the Court’s judicial
                  assistant,   Ms.         Lori    Gibson      at    (865)    545-4762,     or   at
                  varlan_chambers@tned.uscourts.gov.

   SHOULD THE SCHEDULED TRIAL DATE CHANGE FOR ANY REASON, THE OTHER
   DATES CONTAINED IN THIS ORDER SHALL REMAIN AS SCHEDULED. SHOULD
   THE PARTIES DESIRE A CHANGE IN ANY OF THE OTHER DATES, THEY SHOULD
   NOTIFY THE COURT AND SEEK AN ORDER CHANGING THOSE DATES.

          IT IS SO ORDERED.

                                                       ENTER:

                                                       _________________________
                                                       Debra C. Poplin
                                                       United States Magistrate Judge




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